          Case 1:18-cv-08468-LGS Document 159 Filed 10/21/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
                                                              :
 ABBOTT LABORATORIES,                                         :
                                              Plaintiff,      :
                                                              :   18 Civ. 8468 (LGS)
                            -against-                         :    19 Civ. 600 (LGS)
                                                              :
 NANCY FEINBERG et al.,                                       :        ORDER
                                                              :
                                              Defendants. :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS the Order, dated October 14, 2020, directed the parties to submit letters

setting forth their positions and any proposed measures for maintaining confidential during trial

the name of the artist, the artwork at issue and the names of other artworks not at issue allegedly

stolen from Plaintiff (Dkt. No. 154).

        WHEREAS the parties agree that any allegedly-stolen artworks not at issue should not be

referred to by name, but dispute whether the painting and artist at issue may be referred to by

name (Dkt. Nos. 157, 158).

        WHEREAS narrowly-tailored limitations are appropriate to preserve the value of the

artwork at issue. See, e.g., CSL Silicones, Inc. v. Midsun Grp. Inc., No. 14 Civ. 1897, 2017 WL

4750701, at *4 (D. Conn. July 12, 2017) (allowing for redactions of “commercially sensitive”

information). Accordingly, it is hereby

        ORDERED that at trial, the painting at issue shall be referred to as the “Painting,” the
         Case 1:18-cv-08468-LGS Document 159 Filed 10/21/20 Page 2 of 2




artist at issue shall be referred to as the “Artist” and the copy of the Painting at issue shall be

referred to as the “Copy.” In the event the parties discuss allegedly stolen artworks not at issue,

they shall be referred to as the “Other Abbott Works.”



Dated: October 21, 2020
       New York, New York




                                                   2
